                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )        No. 11-00012-6
                                               )        Judge Sharp
SHATIKA DIX                                    )

                                              ORDER

       The Court is in receipt of a Memorandum from Pretrial Services stating that after the hearing

on April 8, 2014, Defendant did not report to the probation office for monthly reporting and a drug

screen as instructed by her Probation and Pretrial Services Officer. Attached hereto is a copy of that

Memorandum.

       On or before noon on April 10, 2014, Defendant shall file a response to the Memorandum

explaining whether the representations therein are accurate and, if so, providing legal authority for

Defendant’s failure to comply as instructed. If Defendant takes issue with what is represented in

the Memorandum, that, too, shall be specifically addressed in Defendant’s filing.

       It is SO ORDERED.

                                                        ____________________________________
                                                        KEVIN H. SHARP
                                                        UNITED STATES DISTRICT JUDGE




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